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                                                                      Document     Page 1 of 52
  Fill in this information to identify your case:                                                                                  Check the appropriate box as directed in
                                                                                                                                   lines 40 or 42:

  Debtor 1           Kathleen P. Flatt
                    _________________________________________________________________                                               According to the calculations required by this
                      First Name                     Middle Name                   Last Name
                                                                                                                                    Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                     Middle Name                   Last Name                                        ✔
                                                                                                                                       1. There is no presumption of abuse.
                                           NORTHERN
  United States Bankruptcy Court for the: ______________________                                ILLINOIS
                                                                                   District of __________                              2. There is a presumption of abuse.
                                                                                               (State)
  Case number         ___________________________________________
   (If known)
                                                                                                                                    Check if this is an amended filing



Official Form 22A–2
Chapter 7 Means Test Calculation                                                                                                                                           12/14

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. .......................................................Copy line 11 from Official Form 22A-1 hereÎ ............1.                0.00
                                                                                                                                                                       $_________

2. Did you fill out Column B in Part 1 of Form 22A–1?
    ✔
        No. Fill in $0 on line 3d.
        Yes. Is your spouse filing with you?
         ✔
                No. Go to line 3.
                Yes. Fill in $0 on line 3d.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 22A–1, was any amount of the income you reported for your spouse NOT regularly
    used for the household expenses of you or your dependents?

    ✔ No. Fill in 0 on line 3d.
    
    Yes. Fill in the information below:

                State each purpose for which the income was used                                         Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support              are subtracting from
                people other than you or your dependents                                                 your spouse’s income


            3a. ___________________________________________________                                                  0.00
                                                                                                           $______________


            3b. ___________________________________________________                                                  0.00
                                                                                                           $______________

            3c. ___________________________________________________                                      + $______________
                                                                                                                     0.00

            3d. Total. Add lines 3a, 3b, and 3c. .................................................                   0.00
                                                                                                           $______________
                                                                                                                                  Copy total here   Î ........ 3d.   ņ $_________
                                                                                                                                                                            0.00


4. Adjust your current monthly income. Subtract line 3d from line 1.                                                                                                       0.00
                                                                                                                                                                      $_________




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                First Name         Middle Name               Last Name



Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 22A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 22A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from                                                   1
       the number of people in your household.


   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
                                                                                                                                                                                0.00
                                                                                                                                                                            $________
      in the dollar amount for food, clothing, and other items.



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
      the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are under 65 and
      people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your actual expenses are
      higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                            0.00
                                                                                    $____________


       7b.    Number of people who are under 65
                                                                                       0.00
                                                                                    X ______

                                                                                            0.00               Copy line 7c             0.00
       7c.    Subtotal. Multiply line 7a by line 7b.                                $____________                                $___________
                                                                                                               hereÎ .......




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                            0.00
                                                                                    $____________

       7e.    Number of people who are 65 or older                                     0.00
                                                                                    X ______

                                                                                                               Copy line 7f
       7f.    Subtotal. Multiply line 7d by line 7e.                                        0.00
                                                                                    $____________
                                                                                                               hereÎ ......             0.00
                                                                                                                               + $___________

                                                                                                                                        0.00    Copy total hereÎ
       7g.    Total. Add lines 7c and 7f....................................................................................     $___________
                                                                                                                                                ..................... 7g.       0.00
                                                                                                                                                                            $________




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   Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
   purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be available at the
   bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.                                                                       0.00
                                                                                                                                               $____________

   9. Housing and utilities – Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed                             0.00
             for your county for mortgage or rent expenses.                                              9a.      $___________


      9b.    Total average monthly payment for all mortgages and other debts secured by your home.


             To calculate the total average monthly payment, add all amounts that are
             contractually due to each secured creditor in the 60 months after you file for
             bankruptcy. Then divide by 60.

              Name of the creditor                                          Average monthly
                                                                            payment



              ___________________________________                                       0
                                                                               $__________


              ___________________________________                                      0
                                                                               $__________


              ___________________________________ +                                    0
                                                                               $__________


                                                                                                Copy line 9b                        Repeat this
                                 9b. Total average monthly payment                   0.00
                                                                               $__________                               0.00
                                                                                                                ņ $___________      amount on
                                                                                                hereÎ                               line 33a.

       9c.    Net mortgage or rent expense.
              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                            Copy
                                                                                                                         0.00
                                                                                                                  $___________      line 9c
                                                                                                                                                      0.00
                                                                                                                                               $___________
              rent expense). If this amount is less than $0, enter $0.                                    9c.
                                                                                                                                    hereÎ




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                           0.00
                                                                                                                                               $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain           _________________________________________________________________
      why:
                        _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ✔ 0. Go to line 14.
       
       1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                            0.00
                                                                                                                                               $___________



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   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    _______________________________________________________________
                                                   _______________________________________________________________


       13a.   Ownership or leasing costs using IRS Local Standard                                   13a.             0.00
                                                                                                              $___________

       13b.   Average monthly payment for all debts secured by Vehicle 1.
              Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.


                    Name of each creditor for Vehicle 1                 Average monthly
                                                                        payment

                                                                                              Copy 13b                           Repeat this
                ___________________________________                               0.00
                                                                        $______________                    ņ $____________
                                                                                                                     0.00        amount on
                                                                                              hereÎ                              line 33b.


                                                                                                                                Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                            Vehicle 1
                                                                                                                     0.00
                                                                                                             $____________      expense
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0.            13c.                                            0.00
                                                                                                                                here ..... Î   $_________




       Vehicle 2            Describe Vehicle 2:    _______________________________________________________________
                                                   _______________________________________________________________


       13d.   Ownership or leasing costs using IRS Local Standard                                   13d.             0.00
                                                                                                             $____________

       13e.   Average monthly payment for all debts secured by Vehicle 2. Do not
              include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                 Average monthly
                                                                        payment

                                                                                               Copy 13e                          Repeat this
                _____________________________________                             0.00
                                                                        $______________                              0.00
                                                                                                           ņ $____________       amount on
                                                                                               hereÎ                             line 33c.

                                                                                                                                Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                            Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0.                 13f.
                                                                                                                     0.00
                                                                                                             $____________      expense
                                                                                                                                                   0.00
                                                                                                                                               $________
                                                                                                                                here..... Î




   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                          0
                                                                                                                                               $________


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.
                                                                                                                                                   0.00
                                                                                                                                               $________




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   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                         0.00
                                                                                                                                              $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                  0.00
                                                                                                                                              $________
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                 0.00
                                                                                                                                              $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                  0.00
                                                                                                                                              $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
                                                                                                                                                  0.00
                                                                                                                                              $________
        for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                                                                                                                                                  0.00
                                                                                                                                              $_______
       Do not include payments for any elementary or secondary school education.

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.
                                                                                                                                                  0.00
                                                                                                                                              $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it     +       0.00
                                                                                                                                              $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                         0.00
                                                                                                                                              $_______
       Add lines 6 through 23.




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   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                  0.00
                                                                 $____________

       Disability insurance                                              0.00
                                                                 $____________

       Health savings account                                           0.00
                                                              + $____________
                                                                         0.00                                                                                0.00
       Total                                                     $____________                   Copy total hereÎ ....................................   $________

       Do you actually spend this total amount?
       ✔
          No. How much do you actually spend?                            0.00
                                                                  $___________
          Yes


   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will                                         0.00
                                                                                                                                                         $________
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses.


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
                                                                                                                                                             0.00
                                                                                                                                                         $_______
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
       allowance on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
       housing and utilities allowance, then fill in the excess amount of home energy costs.                                                                 0.00
                                                                                                                                                         $________
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.



   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.                                                                                                                       0.00
                                                                                                                                                         $_______
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                          0.00
                                                                                                                                                         $_______
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                 0.00
                                                                                                                                                         $_______
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                         0.00
                                                                                                                                                         $_______
       Add lines 25 through 31.




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                   First Name         Middle Name               Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33g.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                        Average monthly
                                                                                                                                        payment
                   Mortgages on your home:

           33a. Copy line 9b here ................................................................................................. Î              0.00
                                                                                                                                          $_____________

                   Loans on your first two vehicles:                                                                  
           33b. Copy line 13b here. ............................................................................................. Î                0.00
                                                                                                                                          $_____________

           33c. Copy line 13e here. ........................................................................................... .   Î              0.00
                                                                                                                                          $_____________


           Name of each creditor for other secured debt                     Identify property that secures Does payment
                                                                            the debt                       include taxes or
                                                                                                           insurance?

                                                                                                                      ✔
                                                                                                                           No                    0.00
           33d. _______________________________                             ________________________                                      $____________
                                                                                                                           Yes

                                                                                                                      ✔
                                                                                                                           No
           33e. _______________________________                             ________________________                                              0.00
                                                                                                                                          $____________
                                                                                                                           Yes

                                                                                                                      ✔
                                                                                                                           No
           33f. _______________________________                             ________________________                                              0.00
                                                                                                                                        + $____________
                                                                                                                           Yes

                                                                                                                                                           Copy total
      33g. Total average monthly payment. Add lines 33a through 33f...............................................                               0.00
                                                                                                                                         $____________                       0.00
                                                                                                                                                           hereÎ        $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

       ✔
              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                       Name of the creditor                    Identify property that               Total cure                            Monthly cure
                                                               secures the debt                     amount                                amount

                       _______________________                 ____________________                      0.00
                                                                                                   $__________            ÷ 60 =                   0.00
                                                                                                                                          $_____________

                       _______________________                 ____________________                      0.00
                                                                                                   $__________            ÷ 60 =                   0.00
                                                                                                                                          $_____________

                       _______________________                 ____________________                      0.00
                                                                                                   $__________            ÷ 60 =                   0.00
                                                                                                                                        + $_____________
                                                                                                                                                           Copy total       0.00
                                                                                                                           Total                   0.00
                                                                                                                                          $_____________                $________
                                                                                                                                                           hereÎ


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ņ
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
       ✔ No. Go to line 36.
       
        Yes. Fill in the total amount of all of these priority claims. Do not include current or
                     ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims ................................................................                0.00
                                                                                                                                          $____________    ÷ 60 =            0.00
                                                                                                                                                                        $_________




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   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
       ✔ No. Go to line 37.
       
        Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                                                            0.00
                                                                                                                                         $_____________
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama and
                    North Carolina) or by the Executive Office for United States Trustees (for all
                    other districts).                                                                                                    0.00
                                                                                                                                      x ______
                    To find a list of district multipliers that includes your district, go online using the
                    link specified in the separate instructions for this form. This list may also be
                    available at the bankruptcy clerk’s office.
                                                                                                                                                  0.00      Copy total         0.00
                    Average monthly administrative expense if you were filing under Chapter 13                                           $_____________                   $_________
                                                                                                                                                            hereÎ



   37. Add all of the deductions for debt payment.                                                                                                                             0.00
                                                                                                                                                                          $_________
       Add lines 33g through 36.


   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS                                           0.00
                                                                                          $______________
      expense allowances.............................................................

      Copy line 32, All of the additional expense deductions .........                              0.00
                                                                                          $______________


      Copy line 37, All of the deductions for debt payment............                              0.00
                                                                                        + $______________

      Total deductions                                                                              0.00
                                                                                          $______________                      Copy total here Î                               0.00
                                                                                                                                                                          $_________


   Part 3:        Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

       39a.    Copy line 4, adjusted current monthly income .....                                  0.00
                                                                                          $_____________

       39b.    Copy line 38, Total deductions. ........                                            0.00
                                                                                        í $_____________
       39c.    Monthly disposable income. 11 U.S.C. § 707(b)(2).                                   0.00                        Copy line
                                                                                                                                                          0.00
                                                                                          $_____________                                          $____________
               Subtract line 39b from line 39a.                                                                                39c hereÎ

                For the next 60 months (5 years) ..........................................................................................       x 60
                                                                                                                                                                  Copy
       39d. Total. Multiply line 39c by 60. .............................................................................................. 39d.           0.00 line 39d
                                                                                                                                                  $____________
                                                                                                                                                                  hereÎ
                                                                                                                                                                               0.00
                                                                                                                                                                           $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

           The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
            to Part 5.

           The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
            may fill out Part 4 if you claim special circumstances. Then go to Part 5.

           The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.
            * Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.


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Debtor 1
                 Kathleen P. Flatt                     Document
                _______________________________________________________
                                                                                 Page 9 of Case
                                                                                           52 number (if known)_____________________________________
                First Name      Middle Name       Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 6), you may refer to line 5 on that form.                                            41a.          0.00
                                                                                                                       $___________

                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                  0.00
                                                                                                                       $___________
               Multiply line 41a by 0.25.                                                                                              Copy            0.00
                                                                                                                                                   $________
                                                                                                                                       hereÎ



   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                       Average monthly expense
                 Give a detailed explanation of the special circumstances
                                                                                                                       or income adjustment

                 _______________________________________________________________________________                                     0.00
                                                                                                                       $__________________

                 _______________________________________________________________________________                                     0.00
                                                                                                                       $__________________

                 _______________________________________________________________________________                                     0.00
                                                                                                                       $__________________

                 _______________________________________________________________________________                                     0.00
                                                                                                                       $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



              8   ___________________________________________________               8___________________________________
                  Signature of Debtor 1                                                 Signature of Debtor 2
                 Kathleen P. Flatt
                      03/30/2015
                 Date _________________                                                       03/30/2015
                                                                                        Date _________________
                         MM / DD   / YYYY                                                     MM / DD   / YYYY



  Official Form 22A–2                                         Chapter 7 Means Test Calculation                                                    page 9
                      Case 15-11318                              Doc 1                 Filed 03/30/15 Entered 03/30/15 13:58:09                                                              Desc Main
B1 (Official Form 1) (4/13)                                                             Document     Page 10 of 52
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF ILLINOIS
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Flatt, Kathleen P.
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   0675                                                                                (if more than one, state all):
  Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                    (No. & Street, City, and State):
  13053 S. Paul Circle
  Plainfield, IL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               60585
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Will                                                                 Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                  Case 15-11318                   Doc 1           Filed 03/30/15 Entered 03/30/15 13:58:09                                                   Desc Main
B1 (Official Form 1) (4/13)                                        Document     Page 11 of 52                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Kathleen P. Flatt
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ GEORGE M. STUHR                                                           03/30/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                   Case 15-11318                         Doc 1   Filed 03/30/15 Entered 03/30/15 13:58:09                                   Desc Main
B1 (Official Form 1) (4/13)                                       Document     Page 12 of 52                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Kathleen P. Flatt
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Kathleen P. Flatt
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     03/30/2015                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ GEORGE M. STUHR                                                          I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     GEORGE M. STUHR 06187074
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     STUHR & DRELL                                                              pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     54 North Ottawa Street                                                     or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Suite 200
     Joliet, IL                  60432-4351
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     815-722-2252
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     03/30/2015                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                   Case 15-11318
FORM B6A (Official Form 6A) (12/07)         Doc 1     Filed 03/30/15 Entered 03/30/15 13:58:09                             Desc Main
                                                       Document     Page 13 of 52

In re Kathleen P. Flatt                                                                          ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
                        Case 15-11318
B6B (Official Form 6B) (12/07)                          Doc 1   Filed 03/30/15 Entered 03/30/15 13:58:09                             Desc Main
                                                                 Document     Page 14 of 52
In re Kathleen P. Flatt                                                                                   ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                    X

2. Checking, savings or other financial                 Savings Account                                                                                          $5.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Location: Numark Credit Union
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Household goods                                                                                  $1,200.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,           X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                     Clothing                                                                                             $200.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                X

8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.




Page       1     of      3
                         Case 15-11318
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In re Kathleen P. Flatt                                                                                 ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

13. Stock and interests in incorporated and             16 shares of Campbell Soup stock - valued at                                     $726.40
    unincorporated businesses. Itemize.
                                                        $45.40 per share
                                                        Location: In debtor's possession


14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other             Automobile - 2004 Town and Country Van -                                     $2,045.00
    vehicles and accessories.
                                                        98,000 miles - Fair Condition - Kelley Blue
                                                        Book estimated value $2,045.00
                                                        Location: In debtor's possession


26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X



Page       2     of      3
                       Case 15-11318
B6B (Official Form 6B) (12/07)                     Doc 1   Filed 03/30/15 Entered 03/30/15 13:58:09                       Desc Main
                                                            Document     Page 16 of 52
In re Kathleen P. Flatt                                                                            ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

28. Office equipment, furnishings, and         X
    supplies.

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                     Total                            $4,176.40
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
                    Case 15-11318
B6C (Official Form 6C) (04/13)                 Doc 1        Filed 03/30/15 Entered 03/30/15 13:58:09                     Desc Main
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In re
        Kathleen P. Flatt                                                                      ,                  Case No.
                                       Debtor(s)                                                                                                   (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Savings Account                                     735 ILCS 5/12-1001(b)                                             $ 5.00                     $ 5.00

Household goods                                     735 ILCS 5/12-1001(b)                                       $ 1,200.00                $ 1,200.00

Clothing                                            735 ILCS 5/12-1001(a)                                          $ 200.00                     $ 200.00

16 shares of Campbell Soup                          735 ILCS 5/12-1001(b)                                          $ 726.40                     $ 726.40
stock - valued at $45.40 per
share

Automobile - 2004 Town and                          735 ILCS 5/12-1001(c)                                       $ 2,045.00                $ 2,045.00
Country Van - 98,000 miles -
Fair Condition - Kelley Blue
Book estimated value $2,045.00




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Kathleen P. Flatt                                                                             ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:




                                                                 Value:
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                           $ 0.00                          $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                        $ 0.00                          $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Kathleen P. Flatt                                                                                  ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0436
Account No:                                                             2014                                                                                                                          $ 4,717.63
Creditor # : 1                                                          Uniforms
Barco Uniforms
350 W. Rosecrans Avenue
Gardena CA 90248



          4179
Account No:                                                             2000                                                                                                                         $ 21,969.53
Creditor # : 2                                                          Charge Account
Citibank, N.A.
P.O. Box 6077
Sioux Falls SD 57117-6077



Account No:     4179
Representing:                                                           Capital Management Services
                                                                        P.O. Box 120
                                                                        Buffalo NY 14220-0120
Citibank, N.A.



     5 continuation sheets attached                                                                                                                 Subtotal $                                       $ 26,687.16
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1938
Account No:                                                             05/30/2013                                                                                                                       $ 949.11
Creditor # : 3                                                          Outstanding Debt-Spring Footwear
Coface Collection North                    America
Inc
P.O. Box 1389
Kenner LA 70063


          3920
Account No:                                                             2014                                                                                                                        $ 134,961.00
Creditor # : 4                                                          Advertising
Dex
Attn: Client Care
1615 Bluff City Highway
Bristol TN 37620


          2000
Account No:                                                             09/2010                                                                                       X                                  $ 146.00
Creditor # : 5                                                          Charge Account
First Data Merchant
4000 Coral Ridge Drive
Pompano Beach FL 33065



          8385
Account No:                                                             2003-06-21                                                                                    X                               $ 4,067.80
Creditor # : 6                                                          Charge Account
Gecrb/sams Club
Po Box 965005
Orlando FL 32896



          5551
Account No:                                                             1996-07-21                                                                                                                    $ 1,390.93
Creditor # : 7                                                          Charge Account
Kohls/capone
N56 W 17000 Ridgewood Dr
Menomonee Falls WI 53051




Sheet No.      1 of        5 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 141,514.84
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5578
Account No:                                                             2014                                                                                                                             $ 691.97
Creditor # : 8                                                          Uniforms
Pacific Apparel MFG., INC.
2068 2nd Street
Norco CA 92860



Account No:     5578
Representing:                                                           McCarthy, Burgess & Wolf
                                                                        26000 Cannon Road
                                                                        Cleveland OH 44146
Pacific Apparel MFG., INC.



          U050
Account No:                                                                                                                                                                                           $ 2,405.25
Creditor # : 9                                                          Outstanding Debt
Peaches Uniforms
P.O. Box 227196
Dallas TX 75222



          6889
Account No:                                                             2000                                                                                                                               $ 0.00
Creditor # : 10                                                         Charge Account
PNC Bank
P.O. Box 865177
Louisville KY 40285-6044



Account No:     6889
Representing:                                                           Joseph Mann & Creed
                                                                        20600 Chagrin Blvd.
                                                                        Suite 550
PNC Bank                                                                Shaker Heights OH 44122-5340




Sheet No.      2 of        5 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 3,097.22
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5084
Account No:                                                             2000                                                                                                                         $ 34,985.01
Creditor # : 11                                                         Line of Credit
PNC Bank
2730 Liberty Avenue
Pittsburgh PA 15222



          6252
Account No:                                                             2013-05-10                                                                                    X                                  $ 144.00
Creditor # : 12                                                         Medical Services
Presence St. Joseph
75 Remittance Drive
Suite 1366
Chicago IL 60675


Account No:     6252
Representing:                                                           CREDITORS COLLECTION B
                                                                        755 ALMAR PKWY
                                                                        BOURBONNAIS IL 60914
Presence St. Joseph



          6479
Account No:                                                             2013-05-10                                                                                    X                                  $ 554.00
Creditor # : 13                                                         Medical Services
Presence St. Joseph
333 N. Madison
Joliet IL 60435



Account No:     6479
Representing:                                                           CREDITORS COLLECTION B
                                                                        755 ALMAR PKWY
                                                                        BOURBONNAIS IL 60914
Presence St. Joseph




Sheet No.      3 of        5 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 35,683.01
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2822
Account No:                                                                                                                                                           X                                  $ 883.64
Creditor # : 14                                                         Outstanding Debt
Prestige Medical
8600 Wilbur Ave
Northridge CA 91324



Account No:                                                             11/2012                                                                                       X                               $ 2,564.45
Creditor # : 15                                                         Outstanding Debt
Princess Uniforms and
accessories
P.O. Box 68
Abbeville SC 29620


          latt
Account No:                                                             2014                                                                                                                          $ 8,124.00
Creditor # : 16                                                         Past due rent - business location
RTO Ventures
2314 RT. 59
#199
Plainfield IL 60544


          1435
Account No:                                                             2014                                                                                                                          $ 3,900.00
Creditor # : 17                                                         Uniforms
Strategic Partners
9800 De Soto Avenue
Chatsworth CA 91311



Account No:     1435
Representing:                                                           AMS
                                                                        190 Sylvan Avenue
                                                                        Englewood Cliffs NJ 07632
Strategic Partners




Sheet No.      4 of        5 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 15,472.09
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Kathleen P. Flatt                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8179
Account No:                                                             2014                                                                                                                              $ 40.91
Creditor # : 18                                                         Checking Account Service Company
TeleCheck
P.O. Box 4838
Englewood CO 80155



Account No:                                                             07/29/2013                                                                                    X                               $ 1,980.77
Creditor # : 19                                                         Outstanding Debt owed to Gelscrub
Transworld Systems Inc.
Collectin Agency
507 Prudential Road
Horsham PA 19044


          4179
Account No:                                                             1998-12-31                                                                                    X                              $ 21,969.53
Creditor # : 20                                                         Charge Account
Unvl/citi
Po Box 6241
Sioux Falls SD 57117



          latt
Account No:                                                             2014                                                                                                                          $ 2,000.00
Creditor # : 21                                                         Uniforms
White Swan
621 Macon Street
McDonough GA 30253



Account No:     latt
Representing:                                                           Jay K. Levy & Associates
                                                                        P.O. Box 1331
                                                                        Northbrook IL 60065
White Swan




Sheet No.      5 of        5 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 25,991.21
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 248,445.53
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 15-11318
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In re Kathleen P. Flatt                                                                                        / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.


ROT Ventures                                                    Contract Type: Lease
2314 Rt. 59 #199                                                Terms: week to week payment
Plainfield IL 60544                                             Beginning date:
                                                                Debtor's Interest:Lessee
                                                                Description: Lease for Business
                                                                Buyout Option:None




                                                                                                                                                         Page      1 of          1
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In re Kathleen P. Flatt                                                                       / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




                                                                                                                                  Page    1 of       1
                  Case 15-11318            Doc 1          Filed 03/30/15 Entered 03/30/15 13:58:09                           Desc Main
                                                           Document     Page 28 of 52
 Fill in this information to identify your case:

                     Kathleen P. Flatt
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           NORTHERN
  United States Bankruptcy Court for the: ________________              ILLINOIS
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔
    information about additional         Employment status             Employed                                         Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                    Business owner
                                                                    __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             Uniforms PRN
                                                                    __________________________________            __________________________________


                                         Employer’s address         121 Springfield
                                                                   _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                     Joliet             IL         60435
                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.              0.00                   0.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.             0.00
                                                                                             + $___________       +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.              0.00
                                                                                                $__________                   0.00
                                                                                                                      $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
                 Case 15-11318                       Doc 1            Filed 03/30/15 Entered 03/30/15 13:58:09                                        Desc Main
                  Kathleen P. Flatt
                                                                       Document     Page 29 of 52
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.             0.00
                                                                                                                         $___________                     0.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.         1391.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                16.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
                    Food Stamps
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.         1407.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                          1,407.00                                  1407.00
                                                                                                                        $___________     +                0.00 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             1407.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
                   Case 15-11318              Doc 1         Filed 03/30/15 Entered 03/30/15 13:58:09                             Desc Main
                                                             Document     Page 30 of 52
  Fill in this information to identify your case:

  Debtor 1           Kathleen P. Flatt
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                         NORTHERN                       ILLINOIS
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the:___________________District of___________________
                                                                                                          expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            ✔   No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                              0.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.
                                                                                                                                               0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.
                                                                                                                                               0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                              $_____________________

Official Form %6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 15-11318                Doc 1        Filed 03/30/15 Entered 03/30/15 13:58:09                     Desc Main
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                  Kathleen P. Flatt
 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   132.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.                     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                    275.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     75.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.                    75.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.                   330.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                    315.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.
                                                                                                                                     48.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.                    20.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                   66.50
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  110.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.                    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                     $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                    0.00
      Specify:_______________________________________________________                                                $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20a. Mortgages on other property                                                                        20a.

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                      0.00
                                                                                                                     $_____________________
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20d. Maintenance, repair, and upkeep expenses                                                           20d.

      20e. Homeowner’s association or condominium dues                                                        20e.                    0.00
                                                                                                                     $_____________________



 Official Form %6J                                            Schedule J: Your Expenses                                                   page 2
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                  Kathleen P. Flatt
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.                     Storage Locker for Household
       Other. Specify: _________________________________________________                                         21.                  152.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                1598.50
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                      1407.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  1598.50
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                      -191.50
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form %6J                                           Schedule J: Your Expenses                                                       page 3
                   Case 15-11318
B6 Summary (Official Form 6 - Summary) (12/14)   Doc 1       Filed 03/30/15 Entered 03/30/15 13:58:09                                  Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION
   In re Kathleen P. Flatt                                                                                                   Case No.
                                                                                                                             Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                         0.00

 B-Personal Property
                                             Yes                3        $                 4,176.40

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $                       0.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                6                                          $              248,445.53

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                2                                                                          $                1,407.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                3                                                                          $                1,598.50

                                  TOTAL                       20         $                 4,176.40 $                   248,445.53
                   Case 15-11318
B6 Summary (Official Form 6 - Summary) (12/14)   Doc 1            Filed 03/30/15 Entered 03/30/15 13:58:09                              Desc Main
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                                               UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION
   In re Kathleen P. Flatt                                                                                                       Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   0.00

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   1,407.00
   Average Expenses (from Schedule J, Line 22)                                                                        $   1,598.50
   Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1 Line 14)                     $   2,476.97
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   248,445.53
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   248,445.53
                    Case 15-11318                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/14)            Filed 03/30/15 Entered 03/30/15 13:58:09                            Desc Main
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In re Kathleen P. Flatt                                                                                                      Case No.
                                                         Debtor                                                                                                   (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           21    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   3/30/2015                                       Signature   /s/ Kathleen P. Flatt
                                                                          Kathleen P. Flatt




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
 B 7 (Official FormCase
                   7) (4/13)15-11318           Doc 1        Filed 03/30/15 Entered 03/30/15 13:58:09                                  Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re: Kathleen P. Flatt                                                                                  ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $0.00                                      Uniforms PRN, self employed ein # XX-XXXXXXX
   Last Year:-9947.00
Year before:$606.00


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




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       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




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None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: GEORGE M. STUHR                                 Date of Payment:                                             $1200.00
Address:                                               Payor: Kathleen P. Flatt
54 North Ottawa Street
Suite 200
Joliet, IL 60432-4351


Payee:Suite Solutions                                  Date of Payment:05/14/2014                                   $38.00
Address:11132 Winners                                  Payor:Kathleen Flatt
Circle, Ste 207 Los Alamtos,
CA 90720


Payee:U.S. Bankruptcy                 Court            Date of Payment:                                             $335.00
Address:Chicago, IL                                    Payor:Kathleen Flatt


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




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       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                            TYPE OF ACCOUNT, LAST FOUR
                                                            DIGITS OF ACCOUNT NUMBER                                      AMOUNT AND DATE
NAME AND ADDRESS OF INSTITUTION                             AND AMOUNT OF FINAL BALANCE                                   OF SALE OR CLOSING

Institution: PNC Bank                                        Account Type and No.:                                        12/2014
Address: P.O. Box 5570,                                      Personal Checking
Cleveland, OH                                                Account
                                                             Final Balance: $0.00


Institution: PNC Bank                                        Account Type and No.:                                        12/2014
Address: P.O. Box 5570,                                      Business -
Cleveland, OH.                                               Checking Account
                                                             Final Balance: $0.00


       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                             DATES OF
ADDRESS                                                             NAME USED                                                                OCCUPANCY

Debtor:Kathleen Flatt                                               Name(s):                                                                 Until
Address:900 N. Larkin Avenue,                                                                                                                11/2012
Joliet, IL 60435


       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




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       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
       governmental unit to which the notice was sent and the date of the notice.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
       party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
       self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
       commencment of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
       all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
       commencment of this case.


                                     LAST FOUR DIGITS OF                                                                                              BEGINNING AND
NAME                                 SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS               ENDING DATES
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.
                                     (ITIN)/ COMPLETE EIN


Uniforms PRN,                        ID:XX-XXXXXXX                           121 Springfield                         Retail Uniforms                  Began: 1997
Debtor was sole                                                              Ave, Joliet, IL                         & Shoes                          Ended:
proprietorship                                                               60435                                                                    1/31/15


None   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




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NAME AND ADDRESS                                                                                                                         DATES SERVICES RENDERED


            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                         DATES SERVICES RENDERED

Name: Johanna Rux                                                                                                                        Dates: 1997 - 2015
Address: Plainfield Road, Joliet, IL 60435


 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




 None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.




 None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
 None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




 None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




         21. Current Partners, Officers, Directors and Shareholders
 None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




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None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
       percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
       commencement of this case.




       23. Withdrawals from a partnership or distribution by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
       loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




       24. Tax Consolidation Group.
None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
       of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




       25. Pension Funds.
None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
       responsible for contributing at any time within six years immediately preceding the commencement of the case.




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[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   03/30/2015                        Signature     /s/ Kathleen P. Flatt
                                                of Debtor


                                                Signature
       Date
                                                of Joint Debtor
                                                (if any)




                                                                                                                  Statement of Affairs - Page 9
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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




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                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION

In re Kathleen P. Flatt                                                                                               Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                 Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No. 1
Lessor's Name:                                                    Describe Leased Property:                                            Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 ROT Ventures                                                      Lease for Business                                                  365(p)(2):
 2314 Rt. 59 #199
 Plainfield, IL 60544                                                                                                                      Yes               No




                                                                                                                                                    Page    1 of      2
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                                                               Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 03/30/2015                                        Debtor: /s/ Kathleen P. Flatt

Date:                                                   Joint Debtor:




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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
        Kathleen P. Flatt                                                                           Case No.
In re
                                                                                                    Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   GEORGE M. STUHR

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           1,200.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                  1,200.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   0.00

3. $             335.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 03/30/2015                              Respectfully submitted,


                                              X /s/ GEORGE M. STUHR
                        Attorney for Petitioner: GEORGE M. STUHR
                                                 STUHR & DRELL
                                                 54 North Ottawa Street
                                                 Suite 200
                                                 Joliet IL 60432-4351
                                                 815-722-2252
                                                 stuhr_drell2@earthlink.net
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re Kathleen P. Flatt                                                                                                   Case No.
                                                                                                                                          (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
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 B 1D (Official Form 1, Exhibit D) (12/09)      Doc 1        Filed 03/30/15 Entered 03/30/15 13:58:09                                     Desc Main
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               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Kathleen P. Flatt
                                    Date:    03/30/2015
            Case 15-11318          Doc 1      Filed 03/30/15 Entered 03/30/15 13:58:09                Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

In re Kathleen P. Flatt                                                                   Case No.
                                                                                          Chapter 7
                                                                            / Debtor
    Attorney for Debtor:   GEORGE M. STUHR




                                       VERIFICATION OF CREDITOR MATRIX



                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 3/30/2015                                                    /s/ Kathleen P. Flatt
                                                                   Debtor
         Case 15-11318   Doc 1  Filed 03/30/15 Entered 03/30/15 13:58:09 Desc Main
                                 Document     Page 52 of 52
AMS                            JAY K LEVY & ASSOCIATES           PRESTIGE MEDICAL
190 SYLVAN AVENUE              P O BOX 1331                      8600 WILBUR AVE
ENGLEWOOD CLIFFS NJ      07632 NORTHBROOK IL 60065               NORTHRIDGE CA 91324



BARCO UNIFORMS                   JOSEPH MANN & CREED       PRINCESS UNIFORMS AND ACCESS
350 W ROSECRANS AVENUE           20600 CHAGRIN BLVD        P O BOX 68
GARDENA CA 90248                 SUITE 550                 ABBEVILLE SC 29620
                                 SHAKER HEIGHTS OH 44122-5340


CAPITAL MANAGEMENT SERVICES KOHLS/CAPONE             RTO VENTURES
P O BOX 120                 N56 W 17000 RIDGEWOOD DR 2314 RT 59
BUFFALO NY 14220-0120       MENOMONEE FALLS WI 53051 #199
                                                     PLAINFIELD IL              60544


CITIBANK N A                MCCARTHY BURGESS & WOLF          STRATEGIC PARTNERS
P O BOX 6077                26000 CANNON ROAD                9800 DE SOTO AVENUE
SIOUX FALLS SD   57117-6077 CLEVELAND OH 44146               CHATSWORTH CA 91311



COFACE COLLECTION NORTH       PACIFIC
                            AMERICA INCAPPAREL MFG     INC   TELECHECK
P O BOX 1389                  2068 2ND STREET                P O BOX 4838
KENNER LA 70063               NORCO CA 92860                 ENGLEWOOD CO    80155



CREDITORS COLLECTION B           PEACHES UNIFORMS            TRANSWORLD SYSTEMS INC      COLL
755 ALMAR PKWY                   P O BOX 227196              507 PRUDENTIAL ROAD
BOURBONNAIS IL 60914             DALLAS TX 75222             HORSHAM PA 19044



DEX                              PNC BANK                    UNVL/CITI
ATTN CLIENT CARE                 2730 LIBERTY AVENUE         PO BOX 6241
1615 BLUFF CITY HIGHWAY          PITTSBURGH PA 15222         SIOUX FALLS   SD    57117
BRISTOL TN 37620


FIRST DATA MERCHANT              PNC BANK                 WHITE SWAN
4000 CORAL RIDGE DRIVE           P O BOX 865177           621 MACON STREET
POMPANO BEACH FL 33065           LOUISVILLE KY 40285-6044 MCDONOUGH GA 30253



KATHLEEN P FLATT                 PRESENCE ST JOSEPH
13053 S PAUL CIRCLE              75 REMITTANCE DRIVE
PLAINFIELD IL 60585              SUITE 1366
                                 CHICAGO IL 60675


GECRB/SAMS CLUB                  PRESENCE ST JOSEPH
PO BOX 965005                    333 N MADISON
ORLANDO FL 32896                 JOLIET IL 60435
